                         Case 3:21-mj-00115              Document 1        Filed 05/28/21        Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                         District
                                                   __________     of Oregon
                                                              District of __________

                  United States of America                          )
                             v.                                     )
                                                                    )      Case No.           3:21-mj-115
                                                                    )
           RICHARD TIMOTHY HERNANDEZ                                )
                                                                    )
                                                                    )
                          Defendant(s)
                            CRIMINAL COMPLAINT
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         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of              (As provided in Attachment 1)      in the county of             Multnomah        in the
                       District of             Oregon           , the defendant(s) violated:

            Code Section                                                      Offense Description
18 U.S. Code § 1361                              Destruction of Government Property, as more fuly set forth in Attachment 1




         This criminal complaint is based on these facts:
See attached affidavit of Special Agent Micah D. Coring, US Department of Homeland Security,
Federal Protective Service




         ✔ Continued on the attached sheet.
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                                                                                               Complainant’s signature

                                                                                      MICAH D. CORING, Special Agent
                                                                                                Printed name and title

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Date:             05/28/2021
                                                                                                  Judge’s signature

City and state:                         Portland, Oregon                        Hon. Youlee Yim You, U.S. Magistrate Judge
                                                                                                Printed name and title
